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                       THE UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

In Re:                                             §                  Case No. 21-60052-CML
SCOTT VINCENT VAN DYKE                             §
       Debtor(s)                                   §                          Chapter 7

                   CHAPTER 7 TRUSTEE’S MOTION FOR EXTENSION
                       OF TIME TO OBJECT TO DISCHARGE

         This motion seeks an order that may adversely affect you. If you oppose the motion,
         you should immediately contact the moving party to resolve the dispute. If you and the
         moving party cannot agree, you must file a response and send a copy to the moving
         party. You must file and serve your response within 21 days of the date this was served
         on you. Your response must state why the motion should not be granted. If you do not
         file a timely response, the relief may be granted without further notice to you. If you
         oppose the motion and have not reached an agreement, you must attend the hearing.
         Unless the parties agree otherwise, the court may consider evidence at the hearing and
         may decide the motion at the hearing.

         Represented parties should act through their attorney.

         COMES NOW Catherine Stone Curtis, chapter 7 trustee (the “Trustee”), and files this

Chapter 7 Trustee’s Motion for Extension of Time to Object to Discharge, and in support

respectfully represents:

1.       On May 25, 2021, Scott Vincent Van Dyke (the “Debtor”), filed his voluntary petition under

Chapter 7 of the Bankruptcy Code. Catherine Stone Curtis was appointed Chapter 7 Trustee to

administer the assets of the bankruptcy estate (the “Estate”).

2.       The Meeting of Creditors pursuant to Section 341 of the Bankruptcy Code (the “341 Meeting”)

was held on March 24, 2022. After that meeting, the Trustee sent a request for documents to the Debtor

via his counsel:

     1. Social Security card uploaded to Autodelete documents in BlueStylus
     2. Bills of sale or other documentation regarding sale of 2004 Suburban and home
        generators

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     3. Name, address, phone, and email of counsel consulted for ADE and Trepador claims
         against Sesco LTD and Drilling Risk Management
     4. Mortgage statements with Cadence Bank for Jan 2019-present date
     5. Frost Bank statements from Jan 2019 through December 2020
     6. Need closing statements for any account closed within 1 year before the petition date
     7. Amended Statement of Financial Affairs showing any closed accounts within 1 year
         before the petition date
     8. Account for disposition of $63,917 in cash withdrawals from Frost Bank account in April
         2021, with receipts
     9. Clearer copies of check nos. 4438, 4439, 4412, and 4429 from Frost Bank account
     10. Identify source of $135,000 deposits between 12/29/2020 and 1/14/2021 in Frost Bank
         account
     11. Bank statement showing deposit of $1.19MM to Debtor in income from Bastion Energy
         in 2019
     12. Accounting of how $1.19MM from Bastion Energy was spent – with bank statements and
         receipts
     13. Sherriff sale information from Louisiana
     14. 2020 and 2021 year-end Balance Sheet, Income Statement, General Ledger for Trepador
         Energy LLC, and all scheduled entities on Schedule A/B
     15. Confirm date and amount of last distribution from Trepador Energy, with bank statement
         showing deposit
     16. LLC or Shareholder Agreements, by laws, if any, regarding all scheduled entities on
         Schedule A/B
     17. Loan agreements between Texas Petroleum and Jacobe, Vacek, and Wilkerson
     18. Bank statements showing deposit, accounting of disposition of funds if any went to Van
         Dyke individually or to one of his other entities
     19. Big Tex Storage unit lease
     20. Itemized list of property in storage unit, or best recollection
     21. Payton Boomer signed documents, agreements, deeds
     22. Bank statement showing deposit of proceeds from Payton Boomer transaction
     23. Bank statement showing Van Dyke’s deposit of proceeds from Payton Boomer, receipts
         showing disposition of funds
     24. Itemized list, with photos, if possible, of antique and art in Debtor’s home
     25. Itemized list of jewelry
     26. Date/time for week of 3/28/2022 for Trustee and proposed counsel, proposed appraiser to
         view the Debtor’s personal property, including artwork, antiques, collectables, and
         jewelry, at his home. Separate email to follow regarding arrangements for next week.



3.       Except for Chase and one Frost bank statement(s) from the 2021 period, a copy of homeowner’s

insurance for Mary Van Dyke dated March 11, 2021, and a 2009 Special Warranty Deed from the 1515

South Boulevard Trust to the Debtor dated in 2009 uploaded to the Trustee’s BlueStylus system on or
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about April 11, 2022, no other documents have been provided to the Trustee pursuant to her request.

Debtor’s counsel advised during the reset 341 meeting on April 28, 2022, that an email had been

forwarded from his office to the Trustee containing the requested documents, but the Trustee was

unable to find it by searching her email. No such documents have been uploaded to the Trustee’s

BlueStylus system as of the date of the reset 341 meeting.

4.       Even if the requested documents are provided today, the Trustee would require additional time

to review them, given the upcoming deadline to object to discharge is four days from the date this

Motion is filed, next Monday, May 2, 2022.

5.       The Trustee reset the 341 Meeting to May 20, 2022, at 9:00 AM. The 341 Meeting has not been

concluded.

6.       Pursuant to Federal Rule of Bankruptcy Procedure 4004(b)(1), “[o]n motion of any party in

interest, after notice and hearing, the court may for cause extend the time to object to discharge… ...the

motion shall be filed before the time [to object] has expired.” FED. R. BANKR. P. 4004(b)(1). In a

chapter 7 case, a complaint or motion to object to discharge must be filed no later than sixty (60) days

after the first date set for the 341 Meeting. FED. R. BANKR. P. 4004(a).

7.       In this case, the deadline to object to discharge has been set for May 2, 2022. As the Trustee

reset the 341 Meeting of Creditors and is reviewing documents submitted by the Debtor, she requests

that a sixty (60) day extension to the deadline, to July 1, 2022, be granted for the Trustee, United States

Trustee, and creditors. This Motion is timely as it is filed before the time to object to discharge has

expired.




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         WHEREFORE, the Trustee prays that the Court grant the relief requested in the Motion,

and extend the deadline to object to discharge to July 1, 2022, for the Trustee, United States Trustee,

and creditors, and for any other relief the Trustee is entitled to, in law or equity.

                                                        Respectfully submitted,

Date: April 28, 2022                                    /S/CATHERINE STONE CURTIS
                                                        Catherine Stone Curtis
                                                        TBN: 24074100
                                                        Federal ID No.: 1129434
                                                        PULMAN, CAPPUCCIO & PULLEN, LLP
                                                        P.O. Box 720788
                                                        McAllen, TX 78504
                                                        Ph: (956) 467-1900
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                                                        Chapter 7 Trustee




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                                 CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing has been served on all
necessary parties in accordance with FRBP 2002 on the date it was filed electronically or within two
business days thereafter.

         VIA ELECTRONIC NOTICE:
         U.S. Trustee
         US Trustee
         606 N Carancahua Ste 1107
         Corpus Christi, TX 78401

         VIA ELECTRONIC NOTICE AND VIA FIRST CLASS MAIL:
         Scott Vincent Van Dyke

         1515 South Boulevard
         Houston, TX 77006
         Debtor

         BRENDON D SINGH
         TRAN SINGH, LLP
         2502 LA BRANCH STREET
         HOUSTON, TX 77004
         Debtor’s Counsel

         And to all parties on the attached matrix not already listed above, VIA FIRST CLASS MAIL.

                                                      /S/CATHERINE STONE CURTIS
                                                      Catherine Stone Curtis




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AmeriCredit/GM Financial             Bank of America                         Big Tex Storage
Attn: Bankruptcy                     4909 Savarese Circle FL1-908-01-50      3480 Ella
PO Box 183853                        Tampa, FL 33634-2413                    Houston, TX 77018-6136
Arlington, TX 76096-3853


Brendon D Singh                      Builders West Inc.                      Cadence/Superior Bank
Tran Singh, LLP                      8905 Friendship                         Operations Center
2502 La Branch Street                Houston, TX 77080-4111                  2100 3rd Ave N
Houston, TX 77004-1028                                                       Birmingham, AL 35203


Catherine Stone Curtis               Central Portfolio Control               Citibank
Pulman, Cappuccio & Pullen, LLP      Attn: Bankruptcy                        Citicorp Credit Srvs/Centralized Bk dept
P.O. Box 720788                      10249 Yellow Circle Dr Ste 200          PO Box 790034
McAllen, TX 78504-0788               Minnetonka, MN 55343-9111               St Louis, MO 63179-0034


City of Houston Public Works         ECHELON ANALYTICS                       Encore Bank
Attn: Effie Green                    ATTN MALINDA PISCIOTTA                  Nine Greenway Plaza
4200 Leeland                         1717 MAIN STREET STE 3380               Houston, TX 77046-0905
Houston, TX 77023-3016               DALLAS TX 75201-7364


Forest Home Plantation, LLC          Harris County et al.                    Henke, Williams & Boll, LLP
c/o Leann O. Moses                   c/o John P. Dillman                     2929 Allen Pkwy Ste 3900
1100 Poydras Street Ste 3100         Linebarger Goggan Blair & Sampson LLP   Houston, TX 77019-7125
                                     PO Box 3064
New Orleans, LA 70163-1102
                                     Houston, TX 77253-3064

Johns & Hebert PLLC                  JPMORGAN CHASE BANK N A                 JPMorgan Chase Bank, N.A.
f/k/a Johns & Counsel PL             BANKRUPTCY MAIL INTAKE                  s/b/m/t Chase Bank USA, N.A.
2028 East Ben White Blvd Ste 240     TEAM                                    c/o Robertson, Anschutz & Schneid, P.L.
                                                                             6409 Congress Avenue Ste 100
Austin, TX 78741-6931                700 KANSAS LANE FLOOR 01
                                                                             Boca Raton, FL 33487-2853
                                     MONROE LA 71203-4774

Libertas Funding LLC                 Michael L. Noel                         PHOENIX FINANCIAL SERVICES
382 Greenwich Ave Ste 2              12222 Taylorcrest                       LLC
Greenwich, CT 06830-6501             Houston, TX 77024-4247                  PO BOX 361450
                                                                             INDIANAPOLIS IN 46236-1450


PNC BANK RETAIL LENDING              Reese Baker                             Scott Vincent Van Dyke
PO BOX 94982                         Baker & Assoc.                          1515 South Boulevard
CLEVELAND OH 44101-4982              950 Echo Lane Ste 300                   Houston, TX 77006-6335
                                     Houston, TX 77024-2824


Susan Tran Adams                     TMX FINANCE LLC                         US Trustee
Tran Singh LLP                       FORMERLY TITLEMAX                       Office of the US Trustee
2502 La Branch Street                15 BULL STREET STE 200                  515 Rusk Ave Ste 3516
Houston, TX 77004-1028               SAVANNAH GA 31401-2686                  Houston, TX 77002-2604


Wells Fargo Bank N.A., d/b/a Wells   Wells Fargo Dealer Services
Fargo Aut                            Attn: Bankruptcy
PO Box 130000                        1100 Corporate Center D
Raleigh, NC 27605-1000               Raleigh, NC 27607-5066
